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 Bankruptcy Counsel to the Lead Plaintiffs and the Proposed Class

                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION


                                                     Chapter 11
 In re:
                                                     Case No. 20-33113 (FJS)
 RETAIL GROUP, INC., et al.,1
                                                     (Jointly Administered)
                               Debtors.



        SECURITIES LEAD PLAINTIFFS’ LIMITED OBJECTION TO DEBTORS’
       MOTION FOR ENTRY OF AN ORDER (A) MODIFYING AND CONFIRMING
        THE AMENDED CHAPTER 11 PLAN CONSISTENT WITH THE DISTRICT
       COURT’S MEMORANDUM OPINION, (B) RATIFYING ACTIONS TAKEN IN
          RELIANCE ON THE ORDER DATED FEBRUARY 25, 2021, AND (C)
                        GRANTING RELATED RELIEF

           Joel Patterson and Michaella Corporation (“Lead Plaintiffs”), the court-appointed lead

 plaintiffs in the securities fraud class action captioned as In re Ascena Retail Group, Inc.

 Securities Litigation, Case No. 2:19-cv-13529-KM-JBC (the “Securities Litigation”), pending in

 the United States District Court for the District of New Jersey (the “District Court”), for

 themselves and the putative class they seek to represent in the Securities Litigation (the

 “Proposed Class”), hereby submit this limited objection (the “Limited Objection”) to the above-


 1
   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
 claims and noticing agent at http://cases.primeclerk.com/ascena. The location of Debtor Mahwah Bergen Retail
 Group, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 933
 MacArthur Boulevard, Mahwah, New Jersey 07430.

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 captioned Debtors’2 Motion for Entry of an Order (A) Modifying and Confirming the Amended

 Chapter 11 Plan Consistent with the District Court’s Memorandum Opinion, (B) Ratifying

 Actions Taken in Reliance on the Order Dated February 25, 2021, and (C) Granting Related

 Relief (the “Motion”) [Docket No. 2562]. In support of this Limited Objection, Lead Plaintiffs

 respectfully state as follows:

                                             LIMITED OBJECTION

            1.       The Lead Plaintiffs do not oppose the Motion or the relief sought therein as a

 general matter. However, the Debtors’ desire to expeditiously re-confirm their Plan following

 the reversal and remand by the District Court must not come at the expense of consistency with

 the District Court’s Remand Opinion and Remand Order.

            2.       Specifically, the proposed order on the Motion that was filed by the Debtors on

 February 24, 2022 (the “Proposed Order”) [Docket No. 2587] arguably blesses findings of fact

 and conclusions of law that have since been reversed by the District Court, by wholesale

 incorporating by reference the findings of fact and conclusions of law made in connection with

 the prior confirmation hearing and prior confirmation order. Indeed, the Proposed Order limits

 such findings and conclusions to those that are “consistent with the Remand Order and Remand

 Opinion” and also incorporates by reference the findings of fact and conclusions of law made by

 the District Court.         However, the Proposed Order is ambiguous as to which findings and

 conclusions apply here, post-remand.

            3.       There should be no mistake that any findings of fact or conclusions of law made

 in connection with the now-voided Third-Party Release (as defined in the Remand Opinion) are

 likewise void in light of the District Court’s holding that the Bankruptcy Court lacked authority


 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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 to adjudicate various claims that were intended to be subject to such release, including those

 relating to the Securities Litigation. As the District Court stated:


                [I]t takes only a cursory review of the Third-Party Releases and the
                Releasing Parties to find released claims that the Bankruptcy Court
                lacked authority to adjudicate. For example, the Third-Party
                Release would bar securities claims, such as those brought by the
                Securities Plaintiffs, against former directors and officers of [the
                Debtors], even if the claims arose before [the Debtors] filed for
                bankruptcy and those directors and officers had no involvement in
                the Bankruptcy Proceeding.


 See, e.g., Remand Opinion, p. 29.

        4.      Lead Plaintiffs submit that this ambiguity can be resolved by modifying

 paragraph 6 of the Proposed Order, as follows, in bold below:


                Article I.A.129 and VIII.F of the Plan and paragraph 119 of the
                Confirmation Order are hereby deemed stricken and are of no force or
                effect. Any action taken at any time pursuant to Articles I.A.129 or
                VIII.F of the Plan or paragraph 119 of the Confirmation Order is hereby
                deemed void ab initio. Notwithstanding anything to the contrary in
                this Order, no findings of fact or conclusions of law previously made
                by or any evidence previously presented to this Court in connection
                with the Third-Party Release Provision shall be incorporated into
                the record, and all such findings of fact, conclusions of law, and
                evidence are hereby stricken from the record and shall not be
                binding on any party in any proceeding.


        5.      For the reasons set forth above and to ensure consistency with the Remand

 Opinion and Remand Order, Lead Plaintiffs respectfully submit that, to the extent the Court

 grants the Motion, the Proposed Order should be modified as set forth herein.



                             [Remainder of page intentionally left blank]




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 Dated: March 2, 2022                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 2, 2022, I caused a copy of the foregoing
 to be served through the Court’s EM/ECF system on all parties receiving notices in these cases.

                                             By     /s/ Ronald A. Page, Jr.

                                                    Counsel
